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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,
                                                 Case No. 11 CR 820
            v.
                                              Hon. Harry D. Leinenweber
SHARON ANZALDI, PHILLIP DE
SALVO, and STEVEN LATIN,

                       Defendants.


                      MEMORANDUM OPINION AND ORDER

      Before the Court are Defendant Sharon Anzaldi’s Motions to

Quash, Suppress, and Dismiss.           For the reasons stated herein, the

motions are DENIED.

                         I.    FACTUAL BACKGROUND

      On November 17, 2011, Defendants Sharon Anzaldi, (hereinafter,

“Anzaldi”   or   “Defendant”)      Phillip    DeSalvo,    and    Steven    Latin

(collectively, the “Defendants”) were indicted for conspiring to

defraud the United States Department of Treasury by filing false

tax   returns    in   violation    of    Title   18   United    States     Code,

Section 286. The indictment also charged each individual defendant

with executing a fraudulent tax return in violation of Title 18

United States Code 287.

      The indictment alleges that Defendants participated in a

scheme where they collected taxpayers’ mortgage, loan, and debt

information and used such information to file fraudulent tax
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returns.   Cumulatively, Defendants filed fourteen fraudulent tax

returns    which   together      sought      refunds   in    the    amount       of

$8,497,161.00.

     On November 18, 2011, Defendant Anzaldi was arrested and

appeared in court in response to her arrest.           At this time, Anzaldi

refused the court’s appointment of counsel through the Federal

Defender Program.     ECF No. 16.

     On August 16, 2012, Anzaldi filed a Motion to Quash the

Indictment, a Motion to Suppress, and a Motion to Dismiss the

indictment.    However, due to Defendant’s failure to present such

motions pursuant to Local Rule 5.3(b), the Court denied the motions

without prejudice.      ECF No. 62.

     On November 2, 2012, Anzaldi re-filed her motions and properly

presented them for the Court’s consideration.            At a status hearing

on December 4, 2012, the Government informed the Court it was

relying on a prior response with respect to Anzaldi’s November 2012

motions.    The Court then granted Anzaldi to one week to file a

reply brief, which she filed timely.

                               II.    ANALYSIS

      A,    Motion to Dismiss the Indictment with Prejudice

     Defendant argues that the indictment must be dismissed with

prejudice because the Court lacks “In Persona Jurisdiction and

Subject Matter Jurisdiction.”         Def.’s Mot. to Quash, Suppress All




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Evidence, and Dismiss with Prejudice at 2.            Defendant also argues

that the indictment is defective because it was unsigned.

     Federal Rule of Criminal Procedure 7(c) governs indictments.

It instructs that an indictment must be “a plain, concise, and

definite written statement of essential facts constituting the

offense charged.”        FED. R. CRIM. P. 7(c).         The Seventh Circuit

provides that an indictment survives a motion to dismiss if it (1)

“states the     elements   of   the    crime charged [and]        informs    the

defendant of the nature of the charge so she may prepare a defense”

and (2) “enables the defendant to plead the judgment as a bar

against future prosecutions of the same offense.” United States v.

Harvey, 484 F.3d 453, 456 (7th Cir. 2007).

     As a preliminary matter, the Court here finds the indictment

tracks the language of 18 U.S.C. § 286, and 18 U.S.C. § 287

sufficiently.     The Court also finds the indictment includes an

appropriate amount of information to put Defendant on notice “of

the statute[s] which [she] is being charged and the specific way”

she allegedly violated those statutes.           Id. at 456.

                    1.   Subject Matter Jurisdiction

     In her motion, Defendant argues that the indictment must be

dismissed for lack of subject matter jurisdiction.             At the outset,

the Court notes that Defendant’s motion (ECF. No. 65) fails to

provide any support for the proposition that the Court is without

jurisdiction. Because of this, the Court reminds Defendant that it


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is within the Court’s discretion to refuse to consider such an

argument.   See United States v. Useni, 516 F.3d 634, 658 (7th Cir.

2008) (stating that “perfunctory and undeveloped arguments, and

arguments   unsupported     by   pertinent       authority    are   waived.”).

Despite this,      the   Court   is    mindful    that   it   should    liberally

construe filings of individuals who proceed pro se, (or as Anzaldi

prefers to be characterized “propria persona”).               Accordingly, the

Court addresses briefly the merits of Anzaldi’s argument.

     Subject matter jurisdiction is the “courts’ statutory or

constitutional power to adjudicate a case.”              Steel Co. v. Citizens

for a Better Environment, 523 U.S. 83, 89 (1998).                   Article III,

Section 2 of the United States Constitution provides that “judicial

power shall extend to all cases, in law and equity, arising under

this Constitution, the laws of the United States, and treaties

made, or which shall be made, under their authority.”                  U.S. CONST .

ART. III SEC. 2.    Pursuant to this provision, Congress enacted 18

U.S.C. § 3231 which conveys subject matter jurisdiction in criminal

cases to federal district courts. It provides that “[t]he district

courts of the United States shall have original jurisdiction,

exclusive of the courts of the States, of all offenses against the

laws of the United States.”           18 U.S.C. § 3231.

     In one of her many filings, Defendant asserts that 18 U.S.C.

§ 3231 is invalid because Article III, Section 2 does not apply to

criminal cases. Defendant is wrong. For starters, the Court notes


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that the crux of Defendant’s argument lies in a document titled

“Judicial & Administrative Notice of Adjudicative Facts,” which

Defendant    has   failed   to   appropriately      file   on     the      docket.

Notwithstanding this error, Defendant’s argument that 18 U.S.C.

§ 3231 is invalid because it never passed the quorum clause of the

Constitution is without merit. This is because such an argument is

foreclosed by the “enrolled-bill rule,” which provides that the

certification of a bill by the presiding officer of each chamber is

“complete    and   unimpeachable.”        United    States      v.    Small,    ---

Fed.Appx. ---, No. 11-1614, 2012 WL 2435585 at * 1 (7th Cir. June

28, 2012) citing 94 CONG. REC . 568 (1948); Marshall Field & Co. v.

Clark, 143 U.S. 649, 672 (1892).          Moreover, the Supreme Court has

long held:

     [T]he judicial power of the government . . . is declared
     by the second section of the third article [of the United
     States Constitution] to ‘extend to all cases in law and
     equity arising under the Constitution, the laws of the
     United States, and treaties made or which shall be made
     under their authority.’ This provision embraces alike
     civil and criminal cases arising under the Constitution
     and law.    Both are equally within the domain of the
     judicial powers of the United States, and there is
     nothing in the grant to justify an assertion that
     whatever power may be extended over a civil case may not
     be exerted as fully over a criminal one.

Tennessee v. Davis, 100 U.S. 257, 263-64 (1879).

     Therefore,     subject      matter   jurisdiction       in      all    federal

prosecutions comes from 18 U.S.C. § 3231 and there is no question

that Article III permits Congress to assign federal criminal cases

to federal courts. See United States v. Krilich, 209 F.3d 968, 972

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(7th Cir. 2000).      As such, the Court rejects Anzaldi’s argument

that the indictment must be dismissed for lack of subject matter

jurisdiction.

                        2.    Personal Jurisdiction

     Anzaldi also argues that the indictment must be dismissed with

prejudice because the Court lacks personal jurisdiction.                Anzaldi

argues that the Court lacks personal jurisdiction in this case

because she      is a sovereign of the State of Illinois who is

therefore not subject to the jurisdiction of the District Court of

the United States.     The Court finds such an argument lacks merit.

     “[A]   district    court     has   personal    jurisdiction      over   any

defendant brought before it on a federal indictment charging a

violation   of    federal     law.”     United   States    v.   Phillips,    326

Fed.Appx. 400, 400 (7th Cir. 2009).           Personal jurisdiction in this

case is supplied by the fact that Anzaldi is “within the territory

of the United States” and is charged with violating two federal

laws - 18 U.S.C. §§ 286 & 287.          Thus, the Court rejects Anzaldi’s

argument that the indictment must be dismissed for lack of personal

jurisdiction.

                         3.    Unsigned Indictment

     Next, Anzaldi argues that the indictment must be dismissed

with prejudice because the copy presented to Defendant was unsigned

and therefore was “fatally flawed.” Def.’s Mot. to Quash, Suppress

All Evidence, and Dismiss with Prejudice at 2.            The Court does not


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deny that the Federal Rules of Criminal Procedure instruct that

indictments are to be signed by both the foreperson of the grand

jury and by an attorney for the government.                However, the Seventh

Circuit and the Supreme Court have held that the absence of such

signatures are “technical deficiencies that are not necessarily

fatal to the indictment.”           United States v. Irorere, 228 F.3d 816,

830-31    (7th    Cir.    2000);    FED . R. CRIM . P.     6(c);    FED . R. CRIM .

P. 7(c)(1).

     In this case, while Anzaldi may not have received a copy of

the signed indictment, it is clear that the indictment here was

signed.     ECF No. 4.       Moreover, even assuming arguendo that the

indictment was not signed, this deficiency does not without more,

render the indictment void and consequently deprive the Court of

jurisdiction as Anzaldi suggests.            See Hobby v. United States, 468

U.S. 339, 345 (1984); Frisbie v. United States, 157 U.S. 160, 163-

65 (1895).       Thus, the Court denies Anzaldi’s Motion to Dismiss the

Indictment.

                            B.     Motion to Suppress

     Anzaldi       also   argues    that    the   Court    should     suppress   all

evidence    “consisting      from     the   UNSIGNED      DEFECTIVE    INDICTMENT,

UNSIGNED DEFECTIVE ARREST WARRANT, and UNSIGNED GRAND JURY TRUE

BILL.”     Def.’s Mot. to Quash, Suppress All Evidence, and Dismiss

with Prejudice at 2 (emphasis in original).                  Defendant contends

suppression is warranted because all evidence has been fraudulently


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obtained through “Fruit of the Poisen [sic] Tree.”                         Id.    She also

argues   that     such    evidence      should        be    suppressed      because     the

Government is “in Violation of the Substantial Evidence Rule.” Id.

       “A defendant who seeks to suppress evidence bears the burden

of making a prima facie showing of illegality.”                         United States v.

Randle, 966 F.2d 1209, 1212 (7th Cir. 1992).                         In order to satisfy

this   burden,     a   proponent     of    a    motion          to   suppress    must   show

“definite,       specific,      detailed,       and    nonconjectural           facts   that

justify relief.”         Id.    “Reliance on vague, conclusory allegations

is insufficient.”         Id.

                  1.   Suppression Based on Invalid Arrest

       In her motion, Defendant seems to be arguing that all evidence

relating to her arrest must be suppressed because she was arrested

without an arrest warrant and therefore was arrested without

probable cause.        However, both the Supreme Court and the Seventh

Circuit have repeatedly held that an arrest warrant is not required

for all arrests.

       “The standard for arrest is probable cause, defined in terms

of facts and circumstances sufficient to warrant a prudent man in

believing that the (suspect) had or was committing an offense.”

Gerstein v. Pugh, 420 U.S. 103, 111 (1975).                      “[W]hile the Court has

expressed    a    preference      for     the    use       of    arrest   warrants      when

feasible, it has never invalidated an arrest supported by probable

cause solely because the officers failed to secure a warrant.” Id.

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at 113.   Moreover, the Supreme Court has held that probable cause

is established by an indictment returned by a federal grand jury.

Kalina v. Fletcher, 522 U.S. 118, 130 (1997); see also Park Manor

Ltd. v. U.S. Dept. of Health and Human Services, 495 F.3d 433, 437

(7th Cir. 2007) (finding “an indictment establishes probable cause

to believe the defendant [is] guilty of crime, and no more is

required to justify instituting a criminal proceeding.”).                        In

addition to this, in this case, Defendant was arrested pursuant to

both an indictment and an arrest warrant.            ECF No. 1; 29.

Accordingly, the Court rejects Defendant’s argument that evidence

must be suppressed because she was unlawfully arrested.

              2. Suppression Based Upon Government’s
          Alleged Violation of Substantial Evidence Rule

     Anzaldi also argues that the Court should suppress evidence

because the Government has violated the substantial evidence rule.

The Court finds Anzaldi’s argument here misplaced.

     The substantial evidence rule is a principle that a reviewing

court upholds an administrative body’s ruling so long as that

ruling is supported by substantial evidence.                Boating Industry

Ass’n v. Boyd, 409 F.2d 408, 411 (7th Cir. 1969).                However, the

“substantial evidence review of rule- making proceedings . . . is

applicable only where the statute requires an agency hearing.” Id.

This is a criminal prosecution and not a case that involves a

review of an administrative body.              As such, the Court finds



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Defendant’s arguments here without merit and refuses to suppress

any evidence on this basis.

                              C.   Motion to Quash

     Defendant also moves to quash, though what exactly Defendant

seeks to quash, the Court is unaware, as Defendant fails to state

with any kind of specificity what she seeks to quash.                   Assuming

arguendo, she seeks to quash her arrest warrant, indictment, and

grand jury bill, the Court denies such motions.

     “Normally, a motion to quash an arrest warrant arises on

allegation that the warrant was issued improperly.”               United States

v. Brown, No. 98-CR-20060, 2012 U.S. Dist. LEXIS 149005 at *2 (N.D.

Ill. Oct. 17, 2012).          While Defendant fails to specify why the

warrant in this case was improperly issued, she does claim that the

indictment and the arrest warrant are fatally flawed because “in

asmuch [sic] as every government is an artificial per [sic] an

abstraction and a creature of the mind only, a government can

interface only with other artificial persons (corporations).”

Def.’s Mot. to Quash, Suppress All Evidence, and Dismiss with

Prejudice at 2.        Defendant goes on to argue that because the

indictment   in    this   case     is    for   a   corporation   created     by   an

artificial entity she cannot accept responsibility.                    The Court

finds   these     arguments    not      only   lack   support,   but   are    also

frivolous.




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     The United States Government is not and never has been an

artificial person. Instead the Government is “truly[] a government

[comprised] of the people.” U.S. Term Limits, Inc. v. Thorton, 514

U.S. 779, 821 (1995).       It emanates both in form and in substance

from the people and “[i]ts powers are granted by them, and are to

be exercised directly on them, and for their benefit.”               Id. citing

McCulloch v. Maryland, 17 U.S. 316, 404 (1819).              Accordingly, the

Court refuses to quash Defendant’s arrest warrant, indictment or

true bill on the basis that the Government’s only authority is over

corporations.     Thus, Defendant’s motion to quash is denied.

     The Court also notes that Defendant’s motion contains a number

of pages with nonsensical arguments.          Specifically, on pages three

through sixteen Defendant appears to have copied a list from

another work (which strangely starts with number eleven), that she

contends supports her arguments for this motion.                  However, the

Court refuses to address nonsensical arguments.                 See Morton v.

Greer, 61 F.3d 906, 906 (7th Cir. 1995) (stating that briefs which

contain no identifiable argument will be dismissed).

     The Court also points out that in her reply brief, Anzaldi

levies a handful of additional arguments which purport to provide

support for her motions to dismiss, quash, and suppress. The Court

declines to address such arguments as these arguments were not

properly asserted in Defendant’s opening brief.                  See White v.

United States, 23 Fed.Appx. 570, 571 (7th Cir. 2001) (stating that


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a reply brief “is not the proper vehicle to raise new arguments not

presented in an opening brief.”).

                              IV.    CONCLUSION

     For the reasons stated herein, the Court denies Defendant

Anzaldi’s Motion to Dismiss, Motion to Suppress, and Motion to

Quash.



IT IS SO ORDERED.




                                           Harry D. Leinenweber, Judge
                                           United States District Court

DATE:1/31/2013




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